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Exhibit “2”
Dr. Gladstone H. Atwell
Middle School 61 Star Academy

Presents

The Dedicated People:
Working Hard For Children ’s Achievement Award

TO
MERLENE BACCHUS

Presented by The Parent Advisory Council

qo Never Failing To Look For The Best In All Children
Tuesday, June 21, 2005

A.

Ailene Thompson, Parent Coordinator

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Certificate of aie

Awarded To
Merlene Bacchus

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School Aide
For Your Commitment To Students,Parents and Staff

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presented by
Community School District Seventeen

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Pe Castro, S

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School Aide Award Certificate

presented to

Ms. M. Bacchus
Dedicated Service To The Students

Gladstone H. Atwell MLS. 61
June 2002

Rhonda Taylor - Principal Hyacinth Rowe - AP.

003
for all your efforts and commitment

to the CAT Academy

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ppl B Smith. Academy Coordimats: Rowe Assist Prncinal

M.S. 64

Certificate of App

Awarded to

MERLENE BACCHUS

SCHOOL AJL
For Your Active Participation in Staff Development Sessions

presented by
C communi 14 School District Seventeen

_ Friday, june 8, 7 1b) Luk

Ailene Thompson, Facilitator Dr. Evelyn W. Castro, Superintendent

Orga Meas D, Beth

Donna Chartash, Facilitator Debra Brathwaite, Deputy Superintendent

Certificate of Appreciation

MERLENE BACCHUS

For Participation in the Stal, Development "Training for
Schock tides
presented by

Community School District 17
Friday, Yune ZS. Z000

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.* Dy. Evelyn W. Castro, Superintendent
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Danna Chartash, Facilitater

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For Serice to Students, Stas, and Community

presented by
Community School District 17

Friday, June 4, 1999
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Ailene Thompson, Facilitator

Dn. & 2S. Cod po
Donna Chartash, Facilitator

Dr. Evelyn W. Castro, Superintendent

